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 7
                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10          BERNARDINO GINO SANDOVAL,
                                                            CASE NO. 3:17-cv-05667-RJB-DWC
11                                Plaintiff,
                                                            ORDER FOR SUPPLEMENTAL
12                 v.                                       BRIEFING
13          MIKE OBENLAND, et al.,

14                                Defendant.

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16          The District Court has referred this action, filed pursuant to 42 U.S.C. § 1983, to United

17 States Magistrate Judge David W. Christel. Before the Court is Defendants’ Motion for

18 Summary Judgment (“Motion”). Dkt. 50.

19          Plaintiff Bernardino Gino Sandoval alleged in his Complaint his constitutional rights

20 were violated when he was denied the ability to marry a fellow prisoner. Dkt. 1. He argues, first,

21 his fundamental right to marriage was infringed because the Department of Corrections has a

22 policy that unlawfully prevents same-sex marriage, and, second, he suffered retaliation when he

23 was subsequently placed in administrative segregation. Id. at pp. 5-6. Though Plaintiff did not

24 explicitly invoke any constitutional provision, his Complaint appeared to raise claims under the


     ORDER FOR SUPPLEMENTAL BRIEFING - 1
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 1 First and Fourteenth Amendments. Dkt. 1. However, he also included allegations he suffered

 2 mental and physical pain as a result of being denied his ability to marry. Id. at pp. 6-7.

 3 Defendants filed their Motion, arguing Plaintiff had not shown either his fundamental right to

 4 marriage had been unlawfully infringed, or that he was retaliated against. Dkt. 50. Defendants

 5 also argued they are entitled to qualified immunity from monetary liability. Id. Defendants did

 6 not address Plaintiff’s allegations that he suffered mental and physical pain. See id.

 7          Plaintiff has now filed a Response addressing the arguments contained in Defendants’

 8 Motion. Dkt. 63. However, he also stated “Defendants have not raised in their Motion for

 9 Summary Judgment Plaintiff’s Eight Amendment Claim. Therefore, they have waived by

10 conceding not addressing [sic] the issue. (Re: Mental & Physical Pain).” Id. at 2. The Court

11 interprets this passage as clarification that, along with claims under the First and Fourteenth

12 Amendments, Plaintiff attempted to raise an Eighth Amendment claim in his original Complaint.

13          Because Defendants did not address the Eighth Amendment claim in their Motion, and

14 because Defendants have not filed a Reply in support of their Motion, the Court has not yet had

15 the opportunity to hear Defendants’ position on Plaintiff’s apparent Eighth Amendment claim.

16 Having reviewed the Parties’ filings and the record, and because Defendants request the entire

17 case be dismissed in their Motion, the Court concludes justice requires that Defendants have the

18 opportunity to address Plaintiff’s Eighth Amendment argument before the Court makes a

19 determination on Defendants’ Motion.

20          Therefore, the Court directs Defendants to provide supplemental briefing addressing only

21 Plaintiff’s apparent Eighth Amendment claim regarding the pain he allegedly suffered as a result

22 of being denied the ability to marry a fellow prisoner. See Dkt. 1, pp. 6-7. Defendants may file

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 1 their supplemental briefing on or before November 30, 2018. Plaintiff will then have the

 2 opportunity to respond to Defendants’ supplemental briefing on or before December 28, 2018.

 3         The Clerk is directed to re-note Defendants’ Motion (Dkt. 50) for December 28, 2018.

 4         Dated this 7th day of November, 2018.


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                                                       David W. Christel
 7                                                     United States Magistrate Judge

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     ORDER FOR SUPPLEMENTAL BRIEFING - 3
